                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                     MINUTE SHEET

UNITED STATES OF AMERICA                           Date:         December 18, 2018

vs.                                                Case No.:     18-03137-01-CR-S-BP

DEANNA L. HARRIS


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Arraignment
                   Detention Hearing
                   Scheduling Conference

Time Commenced: 9:56 a.m.                                     Time Terminated: 10:10 a.m.


                                     APPEARANCES

Plaintiff:   Jody Stockard, AUSA
Defendant:   Ann Koszuth, FPD
USPPTS:      Joel Woodward

Proceedings: Parties appear as indicated above. Defendant appears in person.

             Arraignment: Defendant waives formal reading of the Indictment and enters
             a plea of not guilty as to all counts naming Defendant.

             Scheduling Conference: A scheduling order setting forth discovery deadlines
             will be entered by the Court. Case placed on the next Joint Criminal Trial
             Docket.

             Detention Hearing: The Court takes note of its own file, including the
             Pretrial Services Report prepared by the USPPTS Officer. The Government
             has filed a Motion for Detention Hearing (Doc. 11). Arguments made
             regarding Defendant’s custody. The Court finds takes matter of detention
             under advisement.

             Defendant in custody.

Courtroom Deputy/ERO: Karla Berziel



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